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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION

ODELL EDWARDS, Individually and             §
as Representative of the Estate of          §
Jordan Edwards, Deceased,                   §
            Plaintiff,                      §
                                            §        No. 3:17-cv-01208-M-BT
v.                                          §
                                            §
ROY OLIVER and THE CITY OF                  §
BALCH SPRINGS, TEXAS,                       §
         Defendants.                        §

                            PARTIAL JUDGMENT

      The Court has entered an Order Accepting the Findings, Conclusions, and

Recommendation of the United States Magistrate Judge. Therefore, it is

ORDERED, ADJUDGED, and DECREED that the City of Balch Springs’s Motion

for Summary Judgment (ECF No. 396) is GRANTED and Plaintiff’s claims against

the City of Balch Springs are dismissed with prejudice.

      SO ORDERED, this 14th day of February, 2022.




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